          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 1 of 10



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


  ALEXANDER STYLLER, INTEGRATED
  COMMUNICATIONS & TECHNOLOGIES,
  INC., JADE CHENG, JASON YUYI, CATHY
  YU, CAROLINE MARAFAO CHENG,
  PUSHUN CHENG, CHANGZHEN NI,
  JUNFANG YU, MEIXIANG CHENG,
  FANGSHOU YU, and CHANGHUA NI,
                                   Plaintiffs,           Civil Action No. 1:16-CV-10386 (LTS)

          vs.

  HEWLETT-PACKARD FINANCIAL
  SERVICES COMPANY, HEWLETT-
  PACKARD FINANCIAL SERVICES (INDIA)
  PRIVATE LIMITED, HP INC., HEWLETT
  PACKARD ENTERPRISE COMPANY, and
  DAVID GILL
                                   Defendants.




           PLAINTIFFS’ MOTION FOR AUTHORIZATION OF DEPOSITIONS


       Plaintiffs, by and through their undersigned counsel, respectfully move the Court to

authorize them to take ten depositions to which Defendants have raised no objections.

Plaintiffs also respectfully move the Court to deny Defendants’ request to depose Marina

Vasilyeva as Plaintiffs’ translator of Defendants’ April 22, 2013 letter to the PSB, because

Defendants’ request is based solely on their false contention that the phrase “H3C inspected

the seized equipment on behalf of HPFS India” does not appear in that letter, Doc. No. 371 at 5.

                                 FACTUAL BACKGROUND

       On February 27, 2020, pursuant to the Court’s order (Doc. No. 305), the parties filed

their joint status report, which included Plaintiffs’ request for 10 depositions and identified


                                                   1
          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 2 of 10



the proposed deponents. Doc. No. 308 at 14. Defendants did not object to the total number of

the requested depositions or to any particular deponent. Doc. No. 308 at 14-15.

       Plaintiffs’ proposed deponents were then discussed during the March 10, 2020 Court

conference, and Defendants confirmed that they had no objections. Doc. No. 340-1 at 42.

Plaintiffs, for their part, stated their objections to Defendants’ proposed 20 depositions as

excessive, and further objected to the proposed depositions of Faybush, Grabkovsky,

Sadovnikov and Makarovsky as witnesses with peripheral involvement in the events whose

testimony would be cumulative of the other witnesses with a more direct knowledge. Doc.

No. 340-1 at 40-41.

       On July 17, 2020, after the parties’ partial summary judgment and other motions had

been fully briefed and argued on July 9, 2020, the undersigned stated in a letter to

Defendants’ counsel: “I suggest we meet and confer (telephonically or by ZOOM) regarding

the deposition format and schedule. Please let me know your availability next week.” Joffe

Decl. Exh. A.

       Following Plaintiffs’ request, counsel met and conferred telephonically on July 29,

2020, to discuss Plaintiffs’ proposal to take all depositions remotely due to the coronavirus

pandemic. At the conclusion of that meet-and-confer, Defendants’ counsel reserved their

position on this issue pending further consultation with their clients. Joffe Decl. ¶ 3.

       On August 12, 2020, having heard nothing further from Defendants for two weeks, the

undersigned wrote to Defendants’ counsel: “Please let me know defendants’ position re:

remote depositions, as discussed.” Joffe Decl. Exh. B.

       On August 13, 2020, the Court issued its order on the pending motions, requesting the

parties to provide a status report in two weeks. Doc. No. 369.



                                                   2
          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 3 of 10




       On August 14, 2020, Mr. Saso responded to the undersigned’s request to disclose

Defendants’ position on remote depositions, stating: “We will return to you shortly re:

depositions.” Joffe Decl. Exh. C.

       Ten days later, on August 24, 2020, Mr. Saso wrote: “We expect to be able to discuss

this week’s Status Report in the next few days. We’ll reach out as soon as possible.” Joffe

Decl. Exh. D.

       During the subsequent meet-and-confer on August 26, 2020, Defendants’ counsel

stated with respect to remote depositions that a protocol should be negotiated first and

submitted to the Court, separately from and following the status report (after Labor Day).

Joffe Decl. ¶ 7. Defendants also disclosed their intention to depose Marina Vasilyeva,

Plaintiffs’ translator of Defendants’ April 22, 2013 letter to the PSB, instead of Sadovnikov

and Makarovsky. The undersigned in turn informed Defendants’ counsel that Plaintiffs were

in discussion with another law firm looking to join the case, and asked that Plaintiffs’ position

be submitted at the same time as the remote deposition protocol (shortly after Labor Day) to

allow Plaintiffs time to consult with their anticipated new counsel. Id.

       On August 27, 2020, Mr. Saso circulated a draft joint status report. Joffe Decl. Exh. E.

With respect to Plaintiffs’ proposed depositions, the draft joint report stated: “Plaintiffs

propose to take the same ten depositions as were proposed in the Joint Status Report filed on

February 27, 2020. [ECF 308 at 14.] Consistent with Defendants’ position in the February 27,

2020 Joint Status Report, Defendants do not object to Plaintiffs’ proposed deponents, but

reserve their right to object to any topic listed in a formal Notice of Deposition pursuant to

Rule 30(b)(6) once properly served. Likewise, Defendants do not object to Plaintiffs naming



                                                   3
          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 4 of 10




Ross West and/or Jessica Liu as potential deponents, but note that neither individual is an

employee of any Defendant as of this date.”

       Mr. Saso’s cover email also stated (Joffe Decl. Exh. F): “Please let me know if

Plaintiffs are objecting to Defendants’ proposed deponents and whether they object to

bringing Yu and Yuyi to the United States for their medical/psychological examinations. We

will need to be able to respond to any such objections, so please let me know Plaintiffs’

positions by 3 p.m.” (The email was sent at 11:44 a.m.).

       In response to that email, the undersigned wrote: “Paul -- as I mentioned during our

meet and confer yesterday, we are in discussion with a big law firm looking to join the case.

Our contacts there are on vacation this week (as am I), and we were not able to discuss your

proposal in the 4 hours you gave us to respond. Plaintiffs would like to have the opportunity

to have their views on this matter, and we would like to reserve our position on the deponents

and submit it when the remote deposition protocol is submitted after Labor Day.” Joffe Decl.

Exh. G.

       In response, Defendants filed the status report (Doc. No. 371), citing the undersigned’s

last email but omitting all prior meet-and-confer correspondence on the issue of depositions

referenced above. Though styled as Defendants’ own, the status report repeats the draft joint

report’s statements with respect to Plaintiffs’ 10 proposed depositions and notes no objections

by Defendants to those depositions. Therefore, Plaintiffs believed their rights to pursue

deposition discovery were preserved by the status report.

       On August 28, 2020, the Court issued an order granting Defendants’ request to take 12

depositions, including Marina Vasilyeva’s, and stating that “no other depositions are



                                                  4
          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 5 of 10



authorized” and “there will be no further discovery absent express prior authorization of the

Court.” Doc. No. 372 at 3.

                                          ARGUMENT

        1. Plaintiffs should be permitted deposition discovery under Rule 30(a).

        Plaintiffs respectfully request the Court’s authorization to take 10 depositions

permitted by Rule 30 of the Federal Rules of Civil Procedure. Rule 30(a)(1) states: “Without

Leave. A party may, by oral questions, depose any person, including a party, without leave of

court except as provided in Rule 30(a)(2).” Rule 30(a)(2) states: “With leave. A party must

obtain leave of court, and the court must grant leave to the extent consistent with Rule

26(b)(1) and (2): (A) if the parties have not stipulated to the deposition and: (i) the deposition

would result in more than 10 depositions being taken under this rule or Rule 31 by the

plaintiffs, or by the defendants, or by the third-party defendants. . . .”

        “The district court has the discretion to limit discovery. The court may limit discovery

if it determines that ‘the discovery sought is unreasonably cumulative or duplicative, or is

obtainable from some other source that is more convenient, less burdensome, or less

expensive. . . .’ Fed.R.Civ. P. 26(b)(2)(i).” Ameristar Jet v. Signal Composites, 244 F.3d 189,

193 (1st Cir. 2001).

        Plaintiffs initially identified their 10 proposed deponents on February 27, 2020,

reconfirmed them at the March 10 Court conference, and again in the August 27 status report

(filed by Defendants). Defendants did not object to the number of Plaintiffs’ requested

depositions or to any particular deponent on any of those occasions.

        Following the submission of the summary judgment motions in July 2020, it was

Plaintiffs who sought to resolve the threshold issue of taking depositions by remote means. In



                                                    5
          Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 6 of 10



response, Defendants stalled for weeks, until the eve of the status report, at which time they

requested that a separately negotiated protocol be submitted following the status report

(shortly after Labor Day). Plaintiffs’ own request to defer their position to allow them time to

consult with their anticipated new counsel and then submit it alongside the remote deposition

protocol would have occasioned no delay in these proceedings and no prejudice to any party

because the protocol ought to be negotiated before depositions could commence in any event.

       Denying Plaintiffs any deposition discovery will severely prejudice their ability to

prepare for trial in this case, where (a) three of the five defendants (HPE, HPI and HPFS

India) produced no documents whatsoever and the remaining defendants HPFS and Gill

produced only 580 documents (and claimed privilege with respect to 833) despite the

involvement of well over a hundred of Defendants’ employees in the relevant events; (b)

Defendants deleted relevant emails and deliberately destroyed the transceivers they had sold

to TT Global from the same Commonwealth Games batch as the transceivers sold to ICT due

to the transceivers’ “questionable” nature and origination -- a key piece of evidence in the

PSB criminal investigation and in this case; and (c) the Court denied Plaintiffs’ three attempts

to compel Defendants to produce documents (Doc. Nos. 234, 280, and 300), and has now

ordered the document discovery closed, DOC. 372 at 3. Subjecting Plaintiffs to 12 depositions

(after they had produced over 60,000 documents) without allowing them to take any of their

own, and thus limiting their total discovery to the 580 documents produced by only two of the

five Defendants, would create an extremely uneven playing field in this action.

       2. Defendants’ request to depose Marina Vasilyeva is based on a false statement.

       Plaintiffs also object to the deposition of Marina Vasilyeva who translated Defendants’

April 22, 2013 letter to the PSB. Defendants claim that they “have translated the April 2013



                                                  6
           Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 7 of 10



letter that was actually submitted to the Chinese authorities, and notably, the above phrase [‘H3C

inspected the seized equipment on behalf of HPFS India’] does not appear in that letter, nor does

any statement concerning H3C acting ‘on behalf of’ or in any agency capacity for Defendants.

Defendants require the deposition of Ms. Vasilyeva to determine what document she translated

from Chinese to English and, if it corresponds (or not) with the version of the April 2013 letter

that was submitted to the Chinese authorities, and question her concerning her translation.” Doc.

No. 371 at 5.

        In fact, Defendants themselves had produced their April 22, 2013 letter to the PSB –

bearing Bates numbers DEF1473-1506, on HPFS India’s letterhead, dated 4/22/2013,

executed by Defendant David Gill, and initialed by him on every page, including page

DEF1475 where the challenged phrase appears in the last paragraph. Joffe Decl. Exh. H.

Plaintiffs have now obtained two independent expedited certified translations of that very

document, DEF1473-77 (the April 22 letter without exhibits), from two unaffiliated

independent translation companies and produced them as Joffe Decl. Exhs. I and J. These

certified translations confirm that Ms. Vasilyeva’s own translation of the letter is entirely

accurate, and the phrase “H3C inspected the seized equipment on behalf of HPFS India”

indeed appears in that letter. Id. 1

        This document is the only version of the April 22, 2013 letter produced by Defendants

in discovery, Joffe Decl. ¶ 11, and it is identical in every respect to the version Defendants

had shared with ICT in April 2013, translated by Ms. Vasilyeva and produced by Plaintiffs

over four years ago in this litigation as Doc. No. 22-4, Joffe Decl. ¶ 14 & Exh. K.




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 The same phrase appears in the English-language draft of the letter shared by Defendants with ICT in March 2013,
see Doc. No. 331-11 at 4 (“H3C inspected the seized equipment on behalf of HPFS India and also obtained lists of the
seized equipment from the [insert name of relevant China police entity].”).

                                                          7
              Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 8 of 10



        In the course of the parties’ September 2, 2020 electronic meet-and-confer

correspondence with respect to this motion, Defendants took the position that “DEF 1473-77

is not the letter that was submitted by HPFS India to the PSB in April 2013” (Joffe Decl. Exh.

L) -- but Defendants had never produced any other letter they claim to have been “actually

submitted” to the PSB, neither the Mandarin original nor Defendants’ purported English

translation of that letter to challenge Plaintiffs’ certified translation(s), and advance no other

basis for deposing Ms. Vasilyeva. Indeed, the issue here is not the accuracy of Ms.

Vasilyeva’s translation of the April 22, 2013 letter – which matches the independent certified

translations of that letter produced by Defendants as DEF1473-77; the issue is whether there

is another version of the letter that Defendants now claim to have “actually submitted” to the

PSB but never shared with Plaintiffs at the time and never produced in discovery in this

litigation.

                                         CONCLUSION

        Plaintiffs respectfully request the Court to permit them to take 10 depositions to which

Defendants did not object, and to deny Defendants’ request to depose Marina Vasilyeva.

 Dated: New York, New York
        September 2, 2020
                                                        Respectfully Submitted,




                                                        _______________________
                                                        Dimitry Joffe
                                                        Joffe Law P.C.
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                                                        New York, NY 10025
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                                                        Email: dimitry@joffe.law
                                                        Counsel to Plaintiffs




                                                    8
        Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 9 of 10



                            CERTIFICATE OF CONFERENCE

         Pursuant to Local Civil Rule 7.1(a)(2), counsel for Plaintiffs certifies that he has
electronically conferred with counsel for Defendants on September 2, 2020, with respect to their
motion to authorize depositions. According to Defendants’ counsel Paul Saso, Defendants “take
no position with respect to Plaintiffs’ request to depose the 10 individuals identified in the
February 27 Status Report” and “oppose any motion by Plaintiffs objecting to Defendants’
ability to depose Ms. Vasilyeva.” A true and correct copy of the meet-and-confer
correspondence is attached as Exhibit L to the Joffe Declaration dated September 2, 2020.

Dated: New York, New York
       September 2, 2020
                                                 By:     /s/Dimitry Joffe
                                                         Dimitry Joffe
                                                         Counsel to Plaintiffs
        Case 1:16-cv-10386-LTS Document 373 Filed 09/02/20 Page 10 of 10



                                CERTIFICATE OF SERVICE

       I, Dimitry Joffe, counsel to Plaintiffs, hereby certify that on September 2, 2020, I caused
a copy of Plaintiffs’ Motion for Authorization of Depositions, accompanied by Declaration of
Dimitry Joffe with exhibits, to be served by ECF upon Defendants’ counsel of record.


                                                   By:    /s/Dimitry Joffe
                                                          Dimitry Joffe
                                                          Counsel to Plaintiffs
